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                   16

                   17                              UNITED STATES DISTRICT COURT

                   18                           NORTHERN DISTRICT OF CALIFORNIA

                   19
                        RICHARD KADREY, an individual; SARAH           Case No. 3:23-cv-03417-VC
                   20   SILVERMAN, an individual; CHRISTOPHER
                        GOLDEN, an individual,                         DECLARATION OF JUDD D. LAUTER
                   21
                           Individual and Representative Plaintiffs,
                   22
                               v.
                   23
                        META PLATFORMS, INC., a Delaware
                   24   corporation;
                   25                                   Defendant.
                   26

                   27

                   28
COOLEY LLP
ATTORNEYS AT LAW
                                                                                      DECLARATION OF JUDD LAUTER
                                                                                        CASE NO.: 3:23-CV-03417-VC
                          Case 3:23-cv-03417-VC Document 23-1 Filed 09/18/23 Page 2 of 2



                    1          I, Judd Lauter, declare:
                    2          1.      I am Special Counsel with the law firm Cooley LLP, counsel for Defendant Meta
                    3   Platforms, Inc. (“Meta”) in this matter. I submit this declaration in support of Meta’s Motion to
                    4   Dismiss Plaintiffs’ Complaint and attach several exhibits that are the subject of Meta’s concurrently
                    5   filed Request for Consideration of Documents Incorporated by Reference Into the Complaint and
                    6   for Judicial Notice (“RJN”). I declare that the following is true to the best of my knowledge,
                    7   information, and belief, and that if called upon to testify, I could and would testify to the following.
                    8          2.      Attached hereto as Exhibit 1 is a true and correct screenshot of the February 24,
                    9   2023 Meta blog post titled, “Introducing LLaMA: A foundational, 65-billion-parameter large
                   10   language model,” located at https://ai.meta.com/blog/large-language-model-llama-meta-ai/ and
                   11   last accessed by me on September 15, 2023. Plaintiffs reference and quote from Exhibit 1 in
                   12   Paragraphs 31 and 32 of the Complaint.
                   13          3.      Attached hereto as Exhibit 2 is a true and correct copy of the research paper
                   14   published by Meta titled “LLaMA: Open and Efficient Foundation Language Models,” which was
                   15   last accessed by me on September 15, 2023 at a link provided at the bottom of Exhibit 1,
                   16   https://arxiv.org/pdf/2302.13971.pdf. Plaintiffs reference and discuss the contents of Exhibit 2 in
                   17   Paragraphs 21 and 23 of the Complaint.
                   18          4.      Attached hereto as Exhibit 3 is a true and correct screenshot of the definition of
                   19   “remove” from the Merriam-Webster online dictionary located at https://www.merriam-
                   20   webster.com/dictionary/remove, which was last accessed by me on September 15, 2023.
                   21          5.      Attached hereto as Exhibit 4 is a true and correct screenshot of the definition of
                   22   “omit” from the Merriam-Webster online dictionary located at https://www.merriam-
                   23   webster.com/dictionary/omit, which was last accessed by me on September 15, 2023.
                   24          I declare under penalty of perjury that the foregoing is true and correct. Executed on this
                   25   18th day of September, 2023 at San Francisco, California.
                   26
                                                                               /s/     Judd Lauter
                   27                                                                  Judd Lauter
                   28
COOLEY LLP
                                                                                                  DECLARATION OF JUDD LAUTER
ATTORNEYS AT LAW
                                                                           1                        CASE NO.: 3:23-CV-03417-VC
